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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION



NATIVE FISH SOCIETY,                            Case No.: 3:12-cv-431-HA
MCKENZIE FLYFISHERS,

                      Plaintiffs,               PARTIALLY UNOPPOSED
                                                MOTION FOR EXTENSION OF
       v.                                       TIME TO FILE MOTION FOR
                                                ATTORNEY’S FEES & COSTS
NATIONAL MARINE FISHERIES                       PURSUANT TO FED. R. CIV. P. 54
SERVICE, PENNY PRITZKER,                        AND LR 54-3
Secretary of Commerce, WILLIAM STELLE,
Regional Administrator, NMFS, OREGON
DEPARTMENT OF FISH & WILDLIFE,                  EXPEDITED CONSIDERATION
ROY ELICKER, Director, ODFW,                    AND DECISION REQUESTED
BRUCE McINTOSH, Acting Northwest Region
Manager, ODFW, ED BOWLES, Fish
Division Administrator, ODFW,

                  Defendants.
______________________________________


 PARTIALLY UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR ATTORNEY’S
               FEES & COSTS PURSUANT TO FED. R. CIV. P. 54 AND LR 54-3.
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       Plaintiffs Native Fish Society and McKenzie Flyfishers (collectively “NFS”) respectfully

request that the Court grant an extension, until October 3, 2014, for NFS to file a motion for

attorney’s fees and costs pursuant to Federal Rule of Civil Procedure 54(d) and Local Rule 54-3

in this matter. Pursuant to LR 7-1, counsel for federal defendants has indicated that they do not

oppose an extension but have asked that the extension be until after any appellate issues are

resolved, and counsel for state defendants has indicated that they do not oppose NFS’s requested

extension of time.

       Under Rule 54(d), a motion for costs and fees is due within 14 days of the entry of

judgment, which in this case occurred on September 2, 2014. NFS sent a letter to counsel for

defendants on September 10, 2014, documenting in detail the attorney fees and costs incurred in

this case and proposing a settlement. NFS requested responses from the federal and state

defendants by September 19, 2014.

       Counsel for federal defendants has indicated that federal defendants intend to file a notice

of appeal, and also that federal defendants will prepare a counter-offer to NFS’s settlement

proposal, but that it is unlikely to be returned by the date NFS requested. Federal defendants

have requested that NFS defer filing its fee motion until after any appeal is resolved. Counsel for

state defendants has indicated they also will prepare a counter-offer.

       NFS is cognizant that a substantial number of appeals filed by federal defendants in

environmental cases are “protective appeals” that result in voluntary dismissals without any

briefing. Judicial resources, and the resources of the parties, will be conserved in this case either

by a negotiated settlement or by a decision on the issue of attorney fees and costs by the judge

most familiar with the case, even if that award later might need to be adjusted if federal

defendants actually prosecute their appeal and are successful. The Supreme Court has stressed


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that “[a] request for attorney’s fees should not result in a second major litigation.” Hensley v.

Eckerhart, 461 U.S. 424, 437 (1983). For this reason, this Court imposes significant limits on the

length of the briefs when parties move for fees. LR 54-3. The Court is aware also that the Ninth

Circuit has endorsed the award of interim fees under the Endangered Species Act (ESA) which

provides the basis for an award of fees pursuant to a Rule 54(d) motion. If no settlement is

reached, NFS would likely move for fees and costs under both the ESA and under the Equal

Access to Justice Act.

       Given the time by which the Court intends to resolve any motion for fees, the other

parties would be able to add an appeal of the fee award to any appellate proceedings on the

merits, again enhancing judicial efficiency. Parties which dispute the taxation of costs under

Rule 54(d) after an appeal on the merits is filed routinely file an amended notice of appeal to

challenge the cost award. There is no reason for indefinitely delaying the adjudication of the fee

motion if the parties are unable to settle, as contemplated by the Court in its September 2, 2014

Order (Dkt # 300).

       NFS respectfully requests that the Court extend the time for filing a Rule 54(d) motion

until October 3, 2014 to allow NFS and defendants to attempt to settle the fees issue, but that the

Court permit NFS to proceed with briefing on a motion for attorney fees and costs if settlement

is not possible. A motion by NFS filed on October 3, 2014 would allow briefing on the following

schedule:

October 3, 2014:         NFS files its motion for attorney fees and costs.

October 20, 2014:        Objections or responses due.

November 3, 2014:        NFS files its reply.

This would allow for completion of briefing by the deadline set in the Court’s September 2, 2014


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               FEES & COSTS PURSUANT TO FED. R. CIV. P. 54 AND LR 54-3.
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Order.

         Therefore, NFS respectfully requests that this Court grant this motion and extend the

deadline for filing a motion for fees and costs under Rule 54(d) and LR 54-3 until October 3,

2014.



DATED this 11th day of September 2014                 Respectfully submitted,

                                                       s/ David H. Becker
                                                      David H. Becker (OSB # 081507)
                                                      Law Office of David H. Becker, LLC

                                                      Attorney for Plaintiff Native Fish Society




 PARTIALLY UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR ATTORNEY’S
               FEES & COSTS PURSUANT TO FED. R. CIV. P. 54 AND LR 54-3.
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